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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

RICKY PATTERSON, #B79037,                    )
                                             )
               Plaintiff,                    )
                                             )
vs.                                          )      Case No. 17-1311-SMY-RJD
                                             )
STIBBRR, et al.,                             )
                                             )
               Defendants.                   )

                            ANSWER AND AFFIRMATIVE DEFENSES

       NOW COME the Defendants, ELDON COOPER (listed as “E. Cooper”), KYLE

HENTON (listed as “Henton”), JEREMY GIVENS (listed as “C/O Givens”), and ARNOLD

STEBERR (listed as “Stibbrr”), by and through their attorney, LISA MADIGAN, Attorney

General of the State of Illinois, and for their Answer and Affirmative Defenses to Plaintiff’s

Complaint [d/e 1], state as follows:




RESPONSE: Defendants admit that Plaintiff was formerly an inmate at Lawrence
Correctional Center.




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RESPONSE: Defendants admit that Defendant Johnson was employed by the Illinois
Department of Corrections at Lawrence Correctional Center. The Court severed all claims
against Defendant Johnson in its merit review in case number 17-1067. (Court Doc. 1).




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RESPONSE: Defendants admit that Nicholas Lamb has served as the Warden and Chief
Administrative Officer at Lawrence Correctional Center. The Court dismissed all claims
against Warden Lamb in its merit review in case number 17-1067. (Court Doc. 1).




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RESPONSE: Defendants admit that M. McCarthy has been employed at Lawrence
Correctional Center. The claims against M. McCarthy were dismissed by the court in its
merit review in case number 17-1067. (Court Doc. 1).




RESPONSE: Defendants admit that Sergeant Casburn has been employed at Lawrence
Correctional Center. The Court dismissed all claims against Sergeant Casburn in its merit
review in case number 17-1067. (Court Doc. 1).




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RESPONSE: Defendants admit that Defendant Lieutenant L. McCarthy has been employed
at Lawrence Correctional Center. The Court severed all claims against Lieutenant L.
McCarthy in its merit review in case number 17-1067. (Court Doc. 1).




RESPONSE: Defendants admit that Lieutenant Steberr has been employed at Lawrence
Correctional Center in the past.




RESPONSE: Defendants admit that Lieutenant Kyle Henton is employed at Lawrence
Correctional Center and is a Chairperson of the Ajustment Committee.




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RESPONSE: Defendants admit that Officer Eldon Cooper is employed at Lawrence
Correctional Center and has served on the Adjustment Committee.




RESPONSE: Defendants admit that Officer Goodrum has been employed at Lawrence
Correctional Center. All claims against Officer Goodrum were dismissed by the Court in its
merit review in case number 17-1067. (Court Doc. 1).




RESPONSE: Defendants admit that Cole Buckels has been employed at Lawrence
Correctional Center. All claims against Defendant Buckels were severed by the Court in its
merit review in case number 17-1067. (Court Doc. 1).



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RESPONSE: Defendants admit that Mark Summer is a correctional officer at Lawrence
Correctional Officer and he formerly worked the 3-11 shift. The Court severed the claims
against Defendant Summer in its merit review in case number 17-1067. (Court Doc 1).




RESPONSE: Defendants admit that Officer Givens has been employed at Lawrence
Correctional Center and is now a Correctional Lieutenant.




RESPONSE: Defendants admit that John Baldwin is the acting director of the Illinois
Department of Corrections. The Court dismissed all claims against Acting Director Baldwin
in its merit review in case number 17-1067. (Court Doc. 1).




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RESPONSE: Defendants admit that Dave White is a member of the Administrative Review
Board. The Court dismissed all claims against Mr. White in its merit review in case number
17-1067. (Court Doc. 1).




RESPONSE: Defendants admit that there is a counselor with the last name Ray employed
at Lawrence Correctional Center. The Court dismissed all claims against Mr. Ray in its
merit review in case number 17-1067. (Court Doc. 1).




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RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph II.




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II. B.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph II. B.




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RESPONSE: Defendants admit that there is a grievance procedure at Lawrence
Correctional Center. Defendants lack knowledge or information sufficient to form a belief
about the truth of the allegations contained in paragraph III.




RESPONSE: Defendants deny violating Plaintiff’s rights whatsoever.




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1.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph 1.


2.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph 2.




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3.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph 3.




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4.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph 4. The Court severed all claims against
Defendant Buckels in its merit review in case number 17-1067. (Court Doc. 1).

5.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph 5. The Court severed all claims against
Defendant Buckels in its merit review in case number 17-1067. (Court Doc. 1).




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6.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph 6. The Court severed all claims against
Defendant Buckels in its merit review in case number 17-1067. (Court Doc. 1).




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7.




RESPONSE: Defendants deny that Defendant Steberr wrote a false disciplinary ticket.
Defendants admit that Defendant Steberr wrote Plaintiff a ticket for assaulting him.
Defendants lack knowledge or information sufficient to form a belief about the truth of the
remaining allegations contained in paragraph 7. The Court severed the allegations against
Defendant Summer in its merit review in cause number 17-1067. (Court Doc. 1).




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8.




RESPONSE: Defendant Steberr admits that Plaintiff tried to talk to him while he was
running the chow line and he told Plaintiff he would talk to him after he finished his duties.
Defendant Steberr denies shouting anything at Plaintiff. Defendants Cooper, Henton, and
Givens lack knowledge or information sufficient to form a belief about the truth of the
allegations contained in paragraph 8.


9.




RESPONSE: Defendant Steberr denies the allegations in paragraph 9. Defendants Cooper,
Henton, and Givens lack knowledge or information sufficient to form a belief about the truth
of the allegations contained in paragraph 9.




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10.




RESPONSE: Defendant Steberr admits counting the number of direct orders he made
towards Plaintiff and admits having him taken to segregation. Defendant Steberr denies
yelling at Plaintiff. Defendants deny that there is surveillance video in the cell house.
Defendants Cooper, Henton, and Givens lack knowledge or information sufficient to form a
belief about the truth of the remaining allegations contained in paragraph 10.


11.




RESPONSE: Defendant Steberr admits writing a ticket regarding Plaintiff’s actions.
Defendant Steberr denies the remaining allegations in paragraph 11. Defendants Cooper,
Henton, and Givens admit that Defendant Steberr wrote Plaintiff a ticket for assaulting him.
Defendants Cooper, Henton, and Givens lack knowledge or information sufficient to form a
belief about the truth of the remaining allegations contained in paragraph 11.




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12.




RESPONSE: Defendants Henton and Cooper admit that they were members of the
adjustment committee who held the hearing regarding the ticket that Defendant Steberr had
written. Defendants Henton and Cooper admit that they were in uniform and on duty and
that Defendant Cooper serves as a minority member of the adjustment committee.
Defendants Henton, Cooper, Givens admit that they make an effort to have a member of the
counseling staff serve on the adjustment committee, schedules permitting. Defendants
Henton, Cooper, and Givens lack knowledge of the remaining allegations in paragraph 12.
Defendants assert that part of paragraph 12 is illegible. Defendant Stiberr lacks knowledge
or information sufficient to form a belief about the truth of the allegations contained in
paragraph 12.




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13.




RESPONSE: Defendants Henton, Cooper, and Givens deny disregarding any
Administrative Directives. Defendants deny violating Plaintiff’s constitutional rights.
Defendants Henton and Cooper admit that they were in uniform and on duty, but deny that
this is in violation of any administrative directive. Defendants Henton, Cooper, and Givens
admit that an effort is made to include a member of the counseling staff, schedules
permitting. Defendants Henton, Cooper, Givens lack knowledge or information sufficient to
form a belief about the truth of the remaining allegations contained in paragraph 13.
Defendant Stiberr lacks knowledge or information sufficient to form a belief about the truth
of the allegations contained in paragraph 13.




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14.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph 14. The court dismissed the claims against
Mr. White in its merit review in case number 17-1067. (Court Doc. 1).

15.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 15.




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16.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants Henton
and Cooper admit that they recommended that Warden Lamb sentence Plaintiff to 3 months
segregation, 3 months C grade status, 3 months commissary restriction, and 6 months
contact visit restriction. Defendants Henton and Cooper deny that Plaintiff lost any good
time or that they made that recommendation. Defendants admit that Plaintiff’s assault of
Defendant Steber classified him as a “staff assaulter.” Defendants deny physically and
verbally assaulting Plaintiff. Defendants lack knowledge or information sufficient to form a
belief about the truth of the remaining allegations contained in paragraph 16. The Court
dismissed the claims against Warden Lamb in its merit review in case number 17-1067.
(Court Doc. 1).




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17.




RESPONSE: Defendants Henton, Cooper, Givens admit that they include a trained member
of the counseling staff on the adjustment committee, when schedules permit. Defendants
Henton, Cooper, and Givens admit that they must hear tickets within 14 days. Defendants
deny violating Plaintiff’s constitutional rights. Defendants deny that the ticket must be
expunged. Defendants Henton, Cooper, and Givens lack knowledge or information sufficient
to form a belief about the truth of the remaining allegations contained in paragraph 17.
Defendant Steberr lacks knowledge or information sufficient to form a belief about the truth
of the allegations contained in paragraph 17. The court dismissed the claims against Warden
Lamb and Mr. White in its merit review in case number 17-1067. (Court Doc. 1).




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18.




RESPONSE: Defendant Steberr denies making the statement contained in paragraph 18.
Defendant Steberr lacks knowledge or information sufficient to form a belief about the truth
of the remaining allegations contained in paragraph 18. Defendants Henton, Cooper, and
Givens lack knowledge or information sufficient to form a belief about the truth of the
remaining allegations contained in paragraph 18. The court dismissed the claims against
Mr. White and Mr. Ray in its merit review in case number 17-1067. (Court Doc. 1).

19.




RESPONSE: Defendants deny the allegations in paragraph 19.




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20.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 20. (Court Doc. 1). The Court severed the claim against Defendant
Buckels in its merit review in case number 17-1067. The Court dismissed claims against
Acting Director Balwin, Warden Lamb, and Mr. White in its merit review in case number
17-1067. (Court Doc. 1).

21.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was surveillance video in the cell house. Defendants deny that there was not a
minority serving on the adjustment committee. Defendants deny that untrained individuals
are able to serve on the adjustment committee. Defendants Henton, Cooper, and Givens


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admit that Defendant Givens served Plaintiff with the disciplinary ticket. Defendant Givens
admits that Plaintiff mentioned surveillance video at some point in time. Defendants lack
knowledge or information sufficient to form a belief about the truth of the remaining
allegations contained in paragraph 21. The Court severed these claims in its merit review in
case number 17-1067. (Court Doc. 1).


22.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was surveillance video in the cell house. Defendants Henton, Cooper, and Givens
deny that Plaintiff submitted a written statement to them. Defendants lack knowledge or
information sufficient to form a belief about the truth of the remaining allegations contained
in paragraph 22. The Court dismissed the claims against Mr. Ray in its merit review in case
number 17-1067. (Court Doc. 1).




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23.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendant Givens
denies the allegations in paragraph 23. Defendants deny that there was surveillance video in
the cell house. Defendants lack knowledge or information sufficient to form a belief about
the truth of the remaining allegations contained in paragraph 23.


24.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was surveillance video in the cell house. Defendant Givens admits that he has a
duty to investigate physical evidence, but denies that any physical evidence existed in this


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case. Defendants lack knowledge or information sufficient to form a belief about the truth
of the remaining allegations contained in paragraph 24.

25.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was video surveillance in the cell house. Defendant Givens denies that he refused
or failed to investigate the incident. Defendants Givens, Henton, and Cooper deny that
Plaintiff provided them with a written statement. Defendants admit that Plaintiff’s assault
of Defendant Steberr classified him as a staff assaulter. Defendants deny that their actions
were in retaliation for anything. Defendants lack knowledge or information sufficient to
form a belief about the truth of the remaining allegations contained in paragraph 25.

26.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was video surveillance in the cell house. Defendants Givens, Henton, and Cooper
deny that Plaintiff provided them with a written statement. Defendants Henton and Cooper
admit to recommending to the Warden that Plaintiff be found guilty, but deny making their
recommendation based only on the ticket that Defendant Steberr wrote. Defendants Henton


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and Cooper deny that their decision is the final decision. Defendants lack knowledge or
information sufficient to form a belief about the truth of the remaining allegations contained
in paragraph 26.


27.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants Henton,
Cooper, and Givens, deny receiving a written statement from Plaintiff. Defendants deny that
there was surveillance video in the cell house. Defendants lack knowledge or information
sufficient to form a belief about the truth of the remaining allegations contained in
paragraph 27.

28.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants Henton,
Cooper, and Givens deny the allegations in paragraph 28. Defendants lack knowledge or
information sufficient to form a belief about the truth of the remaining allegations contained
in paragraph 28.




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29.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was surveillance video in the cell house. Defendants Henton, Copper, and Givens
deny the allegation in paragraph 29. Defendant Steberr lacks knowledge or information
sufficient to form a belief about the truth of the allegations contained in paragraph 29.


30.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was surveillance video in the cell house. Defendants Henton, Cooper, and Givens
deny receiving a written statement from Plaintiff and deny not following procedure.
Defendant Steberr lacks knowledge or information sufficient to form a belief about the truth
of the allegations contained in paragraph 30.




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31.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants Henton
and Cooper deny the allegations in paragraph 31. Defendants deny that there was
surveillance video in the cell house. Defendant Steberr and Givens lack knowledge or
information sufficient to form a belief about the truth of the allegations contained in
paragraph 31.


32.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants Henton,
Cooper, and Givens deny receiving a written statement from Plaintiff. Defendants deny that
there was surveillance video in the cell house. Defendants Henton and Cooper deny that they
lack impartiality. Defendant Henton denies that Defendant Steberr was his superior officer.
Defendants Henton and Cooper deny the remaining allegations contained in paragraph 32.
Defendants Givens and Steberr lack knowledge or information sufficient to form a belief
about the truth of the allegations contained in paragraph 32.


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33.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants Henton
and Cooper deny that they were not allowed to serve as members of the adjustment
committee. Defendants Henton and Cooper admit that efforts are made to include
counseling staff on the adjustment committee, schedules permitting. Defendants deny that
there was surveillance video in the cell house. Defendants Henton and Cooper deny that
their decision is the final decision regarding Plaintiff’s guilt. Defendants Steberr and Givens
lack knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 33.

34.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was surveillance video in the cell house. Defendants lack knowledge or
information sufficient to form a belief about the truth of the remaining allegations contained
in paragraph 34. The Court dismissed Plaintiff’s claims against Warden Lamb in its merit
review in case number 17-1067. (Court Doc. 1).




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35.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 35. The Court dismissed Plaintiff’s claims against Warden Lamb
and Acting Director Baldwin in its merit review in case number 17-1067. (Court Doc. 1).

36.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 36. The Court dismissed Plaintiff’s claims against Warden Lamb,
David White, and Acting Director Baldwin in its merit review in case number 17-1067.
(Court Doc. 1).




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37.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was surveillance video in the cell house. Defendants lack knowledge or
information sufficient to form a belief about the truth of the allegations contained in
paragraph 37. The Court dismissed Plaintiff’s claims against Warden Lamb in its merit
review in case number 17-1067. (Court Doc. 1).

38.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendant Steberr
denies that he wrote Plaintiff a fraudulent ticket. Defendants lack knowledge or information
sufficient to form a belief about the truth of the remaining allegations contained in
paragraph 38.




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39.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants admit
that Plaintiff’s assault of Defendant Steberr classified him as a “staff assaulter.” Defendants
lack knowledge or information sufficient to form a belief about the truth of the remaining
allegations contained in paragraph 39. (Court Doc. 1).

40.




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RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
commenting on Plaintiff’s legal situation and Defendant Steberr denies writing Plaintiff a
fraudulent ticket. Defendants lack knowledge or information sufficient to form a belief
about the truth of the remaining allegations contained in paragraph 40. Defendants note
that part of paragraph 40 is illegible. The Court dismissed the claims against Defendants
Lamb, M. McCarthy, Goodrum, Baldwin, and White in its merit review in case number 17-
1067. (Court Doc. 1).

41.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 41. The Court severed the claims against Defendants Johnson and
L. McCarthy in its merit review in case number 17-1067. (Court Doc. 1).




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42.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 42. The Court severed the claims against Defendant Johnson in its
merit review in case number 17-1067. (Court Doc. 1).

43.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 43. The Court severed the claims against Defendant Johnson in its
merit review in case number 17-1067. (Court Doc. 1).



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44.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 44. The Court severed the claims against Defendants Buckel and
Summer in its merit review in case number 17-1067. (Court Doc. 1).


45.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 45.




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46.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph 46. The Court severed the claims against
Defendant Buckels in its merit review in case number 17-1067. (Court Doc. 1).


47.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph 47. The Court severed the claims against
Defendant Buckels in its merit review in case number 17-1067. (Court Doc. 1).




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48.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph 48. The Court severed the claims against
Defendant Buckels in its merit review in case number 17-1067. (Court Doc. 1).


49.




RESPONSE: Defendants lack knowledge or information sufficient to form a belief about the
truth of the allegations contained in paragraph 49. The Court severed the claims against
Defendant Summer in its merit review in case number 17-1067. (Court Doc. 1).




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50.




RESPONSE: Defendant Steberr admits that Plaintiff tried to talk to him while he was
running the chow line and he told Plaintiff he would talk to him after he finished his duties.
Defendant Steberr denies shouting anything at Plaintiff. Defendant Steberr admits to
counting his direct orders to Plaintiff. Defendant Stibberr denies running into Plaintiff.
Defendants Cooper, Henton, and Givens lack knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 50.

51.




RESPONSE: Defendant Steberr denies being in Plaintiff’s face yelling at him. Defendant
Steberr admits to counting his direct orders to Plaintiff. Defendant Steberr admits to
Plaintiff being handcuffed and taken to segregation. Defendants deny that there was
surveillance video in the cell house. Defendants lack knowledge or information sufficient to
form a belief about the truth of the remaining allegations contained in paragraph 51.




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52.




RESPONSE: Defendant Steberr admits to writing Plaintiff a ticket for assaulting him.
Defendant Steberr denies that the ticket was fraudulent. Defendants Henton, Cooper, and
Givens deny that Plaintiff was not given a fair adjustment committee hearing. Defendants
deny violating Plaintiff’s constitutional rights. Defendants lack knowledge or information
sufficient to form a belief about the truth of the remaining allegations contained in
paragraph 52.




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53.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendant Henton
denies that Defendant Steberr was his superior officer. Defendant Steberr denies that he
wrote a fraudulent ticket against Plaintiff. Defendants Henton and Cooper deny that their
recommendation to the warden was arbitrary. Defendants Henton, Cooper, and Givens deny
that the way they conduct adjustment committee proceedings violates anyone’s rights.
Defendants lack knowledge or information sufficient to form a belief about the truth of the
remaining allegations contained in paragraph 53. The court dismissed any claims against
Warden Lamb in its merit review in case number 17-1067. (Court Doc. 1).




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54.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was surveillance video in the cell house. Defendant Steberr denies that he wrote a
fraudulent ticket against Plaintiff. Defendants deny that their actions were in retaliation to
Plaintiff’s exercising his right to access the court or engage in the grievance process.
Defendants lack knowledge or information sufficient to form a belief about the truth of the
remaining allegations contained in paragraph 54. The Court severed the claims against
Defendant Buckels in its merit review in case number 17-1067. (Court Doc. 1).


55.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 55.




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56.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was surveillance video in the cell house. Defendant Steberr denies making the
statement alleged in paragraph 56. Defendant Steberr denies writing a fraudulent ticket
against Plaintiff. Defendants Henton and Cooper deny that their recommendation was made
solely on Defendant Steberr’s report. Defendants admit that Plaintiff’s assault of Defendant
Steberr made him a “staff assaulter.” Defendants lack knowledge or information sufficient
to form a belief about the truth of the remaining allegations contained in paragraph 56.




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57.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 57. The court dismissed the claims against Sgt. Casburn in its merit
review in case number 17-1067. (Court Doc. 1).

58.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 58. The court dismissed the claims against Sgt. Casburn in its merit
review in case number 17-1067. (Court Doc. 1).

59.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 59.


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60.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 60. The court dismissed the claims against Sgt. Casburn in its merit
review in case number 17-1067. (Court Doc. 1).

61.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 61. The court dismissed the claims against Sgt. Casburn in its merit
review in case number 17-1067. (Court Doc. 1).




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62.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 62. The court dismissed the claims against Sgt. Casburn in its merit
review in case number 17-1067. (Court Doc. 1).

63.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 63.




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64.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 64.

65.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 65.




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66.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 66.

67.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendant Steberr
denies writing Plaintiff a fraudulent ticket. Defendants admit that Plaintiff’s assault of
Defendant Steberr made him a “staff assaulter.” Defendants lack knowledge or information
sufficient to form a belief about the truth of the remaining allegations contained in
paragraph 67.




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68.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 68. The Court dismissed the claims against Mr. Ray in its merit
review in case number 17-1067. (Court Doc. 1).

69.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 69. The Court dismissed the claims against Sgt. Casburn in its merit
review in case number 17-1067. (Court Doc. 1).




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70.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendant Steberr
admits writing Plaintiff a ticket for assaulting him. Defendant Steberr denies that the ticket
was fraudulent. Defendants deny that any of them “took a swing at” Plaintiff. Defendants
deny acting to “punish or break inmates who dare to exercise their right to the court and
grievance process.” Defendants lack knowledge or information sufficient to form a belief
about the truth of the remaining allegations contained in paragraph 70. The Court dismissed
the claims against Sgt. Casburn in its merit review in case number 17-1067. (Court Doc. 1).



71.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 71. The Court dismissed the claims against Sgt. Casburn in its merit
review in case number 17-1067. (Court Doc. 1).




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72.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendant Steberr
denies writing Plaintiff a fraudulent ticket. Defendants lack knowledge or information
sufficient to form a belief about the truth of the allegations contained in paragraph 72. The
court severed the claims against Defendant Johnson in its merit review in case 17-1067.
(Court Doc 1).




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73.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendant Cooper
admits that he was a member of the adjustment committee regarding Defendant Johnson’s
ticket, however, he denies violating any rules. Defendants lack knowledge or information
sufficient to form a belief about the truth of the remaining allegations contained in
paragraph 73. The Court severed the claims against Defendant Johnson in its merit review
in case number 17-1067. (Court Doc. 1).




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74.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 74.


75.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendant Steberr
denies harassing and retaliating against Plaintiff, denies taking his legal mail, and denies
writing Plaintiff a fraudulent ticket. Defendants lack knowledge or information sufficient to
form a belief about the truth of the remaining allegations contained in paragraph 75.




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76.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
acting in retaliation for Plaintiff accessing the court and the grievance process. Defendants
lack knowledge or information sufficient to form a belief about the truth of the remaining
allegations contained in paragraph 76.


77.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 77. The Court severed the claims against Defendant Johnson in its
merit review in case number 17-1067. (Court Doc. 1).




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78.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 78. Defendants note that some of paragraph 78 of Plaintiff’s
complaint is illegible. The Court severed the claims against Defendants Johnson and L.
McCarthy in its merit review in case number 17-1067. (Court Doc. 1).


79.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 79. Defendants note that most of paragraph 79 of Plaintiff’s
complaint is illegible. The Court severed its claims against Defendant Johnson in its merit
review in case number 17-1067. (Court Doc. 1).




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80.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendant Steberr
denies writing Plaintiff a fraudulent ticket. Defendants lack knowledge or information
sufficient to form a belief about the truth of the allegations contained in paragraph 80.
Defendants note that most of paragraph 80 of Plaintiff’s complaint is illegible.


81.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 81. Defendants note that some of paragraph 81 of Plaintiff’s
complaint is illegible. The Court severed the claims against Defendant Johnson in its merit
review in case number 17-1067. (Court Doc. 1).




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82.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 82. Defendants note that some of paragraph 82 of Plaintiff’s
complaint is illegible. The Court dismissed the claims against Goodrum and M. McCarthy
in its merit review in case number 17-1067. (Court Doc. 1).

83.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 83. Defendants note that some of paragraph 83 of Plaintiff’s
complaint is illegible. The Court severed the claims against Defendant Johnson and
dismissed the claims against Warden Lamb in its merit review in case number 17-1067.
(Court Doc. 1).



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84.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there is surveillance video in the cell house. Defendants lack knowledge or information
sufficient to form a belief about the truth of the remaining allegations contained in
paragraph 84. Defendants note that some of paragraph 84 of Plaintiff’s complaint is illegible.


85.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
retaliating against Plaintiff. Defendants lack knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 85. Defendants note that
most of paragraph 85 of Plaintiff’s complaint is illegible. The Court dismissed the claims
against Lt. M. McCarthy and Goodrum in its merit review in case number 17-1067. (Court
Doc. 1).

86.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 86. Defendants note that some of paragraph 86 of Plaintiff’s
complaint is illegible.


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87.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 87. The Court severed the claims against Defendant Johnson in its
merit review of case number 17-1067. (Court Doc. 1).

88.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 88. The Court severed the claims against Defendant Johnson in its
merit review of case number 17-1067. (Court Doc. 1).




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89.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 89. The Court severed the claims against Defendant Johnson in its
merit review of case number 17-1067. (Court Doc. 1).

90.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendant Steberr
admits that he wrote Plaintiff a ticket for assaulting him. Defendants lack knowledge or
information sufficient to form a belief about the truth of the remaining allegations contained
in paragraph 90. The Court dismissed the claims against Warden Lamb in its merit review
in case number 17-1067. (Court Doc. 1).




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91.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 91. The Court severed the claims against Defendant Johnson in its
merit review of case number 17-1067. (Court Doc. 1).

92.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 92. The Court severed the claims against Defendants Johnson and
L. McCarthy in its merit review of case number 17-1067. (Court Doc. 1).




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93.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 93. The Court severed the claims against Defendants Johnson and
L. McCarthy in its merit review of case number 17-1067. (Court Doc. 1).


94.




RESPONSE: Defendants deny the allegations in paragraph 94. Defendants deny violating
Plaintiff’s constitutional rights. Defendants lack knowledge or information sufficient to form
a belief about the truth of the allegations contained in paragraph 94. The Court severed the
claims against Defendants Johnson and L. McCarthy in its merit review of case number 17-
1067. (Court Doc. 1).




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95.




RESPONSE: Defendants deny the allegations in paragraph 95. Defendants deny violating
Plaintiff’s constitutional rights. Defendants lack knowledge or information sufficient to form
a belief about the truth of the allegations contained in paragraph 95. The Court severed the
claims against Defendants Johnson and L. McCarthy in its merit review of case number 17-
1067. (Court Doc. 1).

96.




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RESPONSE: Defendants deny the allegations in paragraph 96. Defendants deny violating
Plaintiff’s constitutional rights. The Court severed the claims against Defendants Johnson,
L. McCarthy, Buckels, and Summer in its merit review of case number 17-1067. (Court Doc.
1). The Court dismissed the claims against Warden Lamb, Goodrum, and M. McCarthy in
its merit review in case number 17-1067. (Court Doc. 1).

97.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that there was surveillance video in the cell house. Defendants admit that Plaintiff’s assault
of Defendant Steberr classified him as a “staff assaulter.” Defendants deny confiscating mail
and deny harassing Plaintiff. Defendants lack knowledge or information sufficient to form
a belief about the truth of the remaining allegations contained in paragraph 97.

98.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 98.




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99.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 99.


100.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 100. The Court severed the claims against Defendants Johnson and
L. McCarthy in its merit review of case number 17-1067. (Court Doc. 1).




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101.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants lack
knowledge or information sufficient to form a belief about the truth of the allegations
contained in paragraph 101.


102.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
punishing inmates for exercising their constitutional rights. Defendants lack knowledge or
information sufficient to form a belief about the truth of the remaining allegations contained
in paragraph 102.




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RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that Plaintiff is entitled to any relief whatsoever. Defendants assert that Plaintiff’s request
is moot as he is no longer at Lawrence Correctional Center.




RESPONSE: Defendants deny violating Plaintiff’s constitutional rights. Defendants deny
that Plaintiff is entitled to any relief whatsoever.




RESPONSE: Defendants demand a trial by jury.




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                                   AFFIRMATIVE DEFENSES

Qualified Immunity

        At all times relevant herein, Defendants acted in good faith in the performance of their

official duties and without violating Plaintiff’s clearly established statutory or constitutional rights

of which a reasonable person would have known. Defendants are, therefore, protected from suit

by the doctrine of qualified immunity.

Sovereign Immunity

        To the extent that Plaintiff’s claims for monetary damages against Defendants are in their

official capacity, the claims are barred by the doctrine of sovereign immunity.

Failure to Exhaust Administrative Remedies

        Plaintiff has filed suit concerning prison conditions while in the Department of Corrections.

Plaintiff has failed to properly exhaust his administrative remedies regarding his claims as is

required prior to filing suit under 42 U.S.C. §1983 and his claims are, therefore, barred by the

Prison Litigation Reform Act (42 U.S.C. §1997e(a)) and Perez v. Wisconsin Dept. of Corrections,

182 F. 3d 532 (7th Cir. 1999).

Injunctive Relief Barred

        To the extent Plaintiff is suing Defendants for declaratory relief or injunctive relief not

intended to address ongoing violations, Plaintiff’s requests for such relief are barred by the

Eleventh Amendment, sovereign immunity, and the Prison Litigation Reform Act.

Heck v. Humphrey

        Plaintiff is barred from seeking damages in a civil rights suit if the judgment would imply

the invalidity of his conviction or sentence or of action taken in prison disciplinary proceedings

which resulted in the deprivation of good conduct credits. Heck v. Humphrey, 512 U.S. 477, 487



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(1994); see also Edwards v. Balisok, 520 U.S. 641 (1997). Plaintiff asserts facts that imply the

invalidity of discipline resulting in the loss of good time credit and, therefore, he is barred from

making those assertions.

        WHEREFORE, for the above and foregoing reasons, Defendants respectfully request that

this Honorable Court enter judgment in their favor and against Plaintiff, and deny any and all

relief requested by Plaintiff in this matter.

                                                Respectfully submitted,

                                                ELDON COOPER, KYLE HENTON,
                                                JEREMY GIVENS, and ARNOLD STEBERR

                                                       Defendants,

                                                LISA MADIGAN, Attorney General,
                                                State of Illinois,

                                                       Attorney for Defendants,
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                                                        Rachel Schwarzlose, #6283966
Of Counsel.                                             Assistant Attorney General




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

RICKY PATTERSON, #B79037,                    )
                                             )
               Plaintiff,                    )
                                             )
vs.                                          )      Case No. 17-1311-SMY-RJD
                                             )
STIBBRR, et al.,                             )
                                             )
               Defendants.                   )

                                CERTIFICATE OF SERVICE

       I hereby certify that on March 12, 2018, the foregoing document, Answer and Affirmative
Defenses, was electronically filed with the Clerk of Court using the CM/ECF system which will
send notification of such filing to the following:

None

and I hereby certify that on the same date, I caused a copy of the document to be mailed by United
States Postal Service to the following non-registered participant:

Ricky Patterson #B79037
Hill Correctional Center
600 South Linwood Road
PO Box 1700
Galesburg, IL 61402


                                                    Respectfully Submitted,

                                                    s/ Rachel Schwarzlose _________
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